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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SUSMAN GODFREY LLP,

                      Plaintiff,
                                                     Civil Case No.: 1:25-cv-01107
       v.                                            Judge Loren L. AliKhan

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                      Defendants.


                                            ORDER

       Upon consideration of Plaintiff’s Consent Motion to Adopt Streamlined Procedures in the

Event of an Amended Complaint, ECF No. 175, it is hereby

       ORDERED that Plaintiff’s Consent Motion to Adopt Streamlined Procedures in the Event

of an Amended Complaint, ECF No. 175, is GRANTED; it is further

       ORDERED that, if Plaintiff files by May 9, 2025, an amended complaint adding as named

defendants additional federal entities subject to Executive Order 14263, Addressing Risks From

Susman Godfrey, as well as the head officers of those entities (the “Amended Complaint”),

Plaintiff shall file a new motion for summary judgment and declaratory and permanent injunctive

relief, and Defendants shall file a new motion to dismiss the amended complaint (the “New

Motions”) by 5:00 p.m. on Monday, May 12, 2025. Plaintiff shall also file a new proposed order

to reflect the addition of the new defendants in the Amended Complaint. It is further

       ORDERED that the parties shall not submit new briefing in support of, in opposition to,

or in reply to the New Motions. Instead, the parties’ prior briefing (including accompanying

declarations and exhibits) directed to Plaintiff’s Motion for Summary Judgment and Declaratory

and Permanent Injunctive Relief, ECF No. 51, and Defendants’ Motion to Dismiss, ECF No. 58,

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(the “Existing Briefs”) shall apply to the New Motions without the need for renewed briefing. The

parties’ arguments (including accompanying declarations and exhibits) set forth in their respective

Existing Briefs and at the May 8, 2025 oral argument shall apply to the New Motions as if they

had been directed to the New Motions in the first instance, and all parties to the Amended

Complaint shall be bound by the Court’s ruling on the New Motions. It is further

       ORDERED that, in lieu of physically serving each new defendant in the Amended

Complaint, Plaintiff will serve counsel for Defendants, Mr. Lawson, who will accept service by

email for each new defendant subject to each agency’s approval of substitute service. Counsel for

Defendants shall promptly, and within no more than ten (10) days of service, notify Plaintiff if any

new defendant requests individual service.

       SO ORDERED.


Dated: May 8, 2025




                                                              LOREN L. ALIKHAN
                                                              United States District Judge




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